      Case 3:21-cv-08485-WHO Document 25 Filed 11/22/21 Page 1 of 7




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   PAUL LLANEZ and JANET N. JACKSON
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 8
 9                    UNITED STATES DISTRICT COURT
10                  NORTHERN DISTRICT OF CALIFORNIA
11                                       ) Case No.: 3:21-cv-08485-WHO
     KEVIN BAUM and ALEJANDRA
12   VANPELL,                            )
                                         ) ANSWER TO COMPLAINT
13                         Plaintiffs,   )
14                   v.                  )
                                         )
15
                                         )
   PAUL LLANEZ and JANET N.
16 JACKSON,                              )
                                         )
17                    Defendants.        )
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                    DEFENDANTS’ ANSWER TO COMPLAINT
       Case 3:21-cv-08485-WHO Document 25 Filed 11/22/21 Page 2 of 7




 1                             ANSWER TO COMPLAINT
 2         Defendants PAUL LLANEZ and JANET N. JACKSON (together,
 3 “Defendants”) answer the Complaint filed by Plaintiffs KEVIN BAUM and
 4 ALEJANDRA VANPELL as follows:
 5         1.    As to Paragraph 1, Defendants lack knowledge or information sufficient
 6 to form a belief as to the truth of the allegations in this paragraph and on that basis
 7 deny.
 8         2.    As to Paragraph 2, Defendants lack knowledge or information sufficient
 9 to form a belief as to the truth of the allegations in this paragraph and on that basis
10 deny.
11         3.    As to Paragraph 3, Defendants lack knowledge or information sufficient
12 to form a belief as to the truth of the allegations in this paragraph and on that basis
13 deny.
14         4.    Defendants admit the allegations of Paragraph 4 to the extent they allege
15 facts as they existed at the time of filing of the Complaint. Defendants deny the
16 allegations of Paragraph 4 to the extent they allege facts as they exist at the time of
17 filing of this Answer.
18         5.    Defendants admit the allegations of Paragraph 5.
19         6.    As to Paragraph 6, Defendants lack knowledge or information sufficient
20 to form a belief as to the truth of the allegations in this paragraph and on that basis
21 deny.
22         7.    Defendants deny the allegations of Paragraph 7.
23         8.    As to Paragraph 8, Defendants lack knowledge or information sufficient
24 to form a belief as to the truth of the allegations in this paragraph and on that basis
25 deny.
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                        DEFENDANTS’ ANSWER TO COMPLAINT
       Case 3:21-cv-08485-WHO Document 25 Filed 11/22/21 Page 3 of 7




 1         9.     As to Paragraph 9, Defendants lack knowledge or information sufficient
 2 to form a belief as to the truth of the allegations in this paragraph and on that basis
 3 deny.
 4         10.    As to Paragraph 10, Defendants lack knowledge or information
 5 sufficient to form a belief as to the truth of the allegations in this paragraph and on
 6 that basis deny.
 7         11.    As to Paragraph 11, Defendants lack knowledge or information
 8 sufficient to form a belief as to the truth of the allegations in this paragraph and on
 9 that basis deny.
10         12.    As to Paragraph 12, Defendants lack knowledge or information
11 sufficient to form a belief as to the truth of the allegations in this paragraph and on
12 that basis deny.
13         13.    Paragraph 13 is a request for relief and does not contain any allegations
14 of fact. To the extent any allegations of fact are implied by the request for relief in
15 Paragraph 13, Defendants lack knowledge or information sufficient to form a belief
16 as to the truth of the allegations in this paragraph and on that basis deny.
17         14.    Paragraph 14 is a certification by the Plaintiffs of compliance with Rule
18 11 of the Federal Rules of Civil Procedure. To the extent any allegations of fact are
19 implied by the certification in Paragraph 14, Defendants lack knowledge or
20 information sufficient to form a belief as to the truth of the allegations in this
21 paragraph and on that basis deny.
22         15.    Paragraph 15 is a statement by the Plaintiffs of agreement to provide
23 the Clerk of the Court with current service information. To the extent any
24 allegations of fact are implied by the statement in Paragraph 15, Defendants lack
25 knowledge or information sufficient to form a belief as to the truth of the allegations
26 in this paragraph and on that basis deny.
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                        DEFENDANTS’ ANSWER TO COMPLAINT
       Case 3:21-cv-08485-WHO Document 25 Filed 11/22/21 Page 4 of 7




 1         16.   Paragraph 16 is a statement of verification by the Plaintiffs. To the
 2 extent any allegations of fact are implied by the statement of verification in
 3 Paragraph 16, Defendants lack knowledge or information sufficient to form a belief
 4 as to the truth of the allegations in this paragraph and on that basis deny.
 5                              AFFIRMATIVE DEFENSES
 6                          FIRST AFFIRMATIVE DEFENSE
                                  Qualified Immunity
 7
 8         1.    Defendants are currently, or were at the time of the actions alleged in
 9 the Complaint, employees of a political subdivision of a state, and all alleged actions
10 by Defendants were within the scope of and Defendants’ official duties and
11 constituted exercise by Defendants of their discretionary functions. To the extent
12 Plaintiffs request any monetary relief, Defendants are protected from liability and
13 suit by Eleventh Amendment immunity and the doctrine of qualified immunity.
14                         SECOND AFFIRMATIVE DEFENSE
                                  Lack of Standing
15
16         1.    Plaintiffs have not pleaded, and Defendants are informed and believe,
17 that Plaintiffs cannot prove, any valid property interest in the real property in
18 question. Plaintiffs therefore cannot assert a right against removal from that real
19 property as against the lawful owner of that property.
20                          THIRD AFFIRMATIVE DEFENSE
                              Lack of Case or Controversy
21
22         1.    Plaintiffs have not pleaded that any meaningful interference with their
23 possessory interests in personal property has taken place. Plaintiffs therefore have
24 failed to plead a present case or controversy that this Court can adjudicate.
25                                PRAYER FOR RELIEF
26         WHEREFORE, Defendants pray as follows:
27         1.    That Plaintiffs take nothing by reason of their complaint;
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                        DEFENDANTS’ ANSWER TO COMPLAINT
      Case 3:21-cv-08485-WHO Document 25 Filed 11/22/21 Page 5 of 7




 1       2.      That judgment be rendered in favor of Defendants;
 2       3.      That Defendant be awarded costs of suit incurred in defense of this
 3 action; and
 4       4.      For such other relief as the Court deems proper.
 5
 6       Respectfully Submitted,
 7
 8   DATED: November 22, 2021 GARCIA HERNANDEZ SAWHNEY, LLP
 9
                                     By: /s/ Albert A. Erkel
10                                   Albert A. Erkel
11                                   Attorneys for Defendants PAUL LLANEZ and
                                     JANET N. JACKSON
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                       DEFENDANTS’ ANSWER TO COMPLAINT
       Case 3:21-cv-08485-WHO Document 25 Filed 11/22/21 Page 6 of 7




 1                               CERTIFICATE OF SERVICE
 2         I, Obianuju Nzewi, declare as follows:
 3         I am over the age of eighteen years and am not a party to this action; my
 4 business address is 2490 Mariner Square Loop, Suite 140 California CA, in said
 5 County and State. On November 22, 2021, I served a copy(ies) of the following:
 6
                        DEFENDANTS’ ANSWER TO COMPLAINT
 7
 8
      on the parties to this action as follows:       Method of Service
 9    Kevin Baum
      2099 Marina Blvd                                E-Mail & U.S. Mail
10
      San Leandro, CA 94577
11    (Plaintiff)
12    Baumkevin410@gmail.com

13    Alejandra VanPell
14    1243 29th St.                                   E-mail & U.S. Mail
      Richmond, CA 94804
15    (Plaintiff)
16     avanpell@gmail.com

17
18
19         [X]    BY U.S. MAIL: I am “readily familiar” with GARCIA HERNÁNDEZ
20 SAWHNEY, LLP’s practice for collecting and processing correspondence for mailing
21 with the United States Postal Service. Such envelope(s) were placed for collection
22 and mailing with postage thereof fully prepaid at Alameda, California, on that same
23 day following ordinary business practices.
           [X] BY E-MAIL: I caused the documents to be sent to the person[s] at the e-
24
     mail addresses listed above. I did not receive, within a reasonable time after the
25
     transmission, any electronic message or other indication that the transmission was
26
     unsuccessful.
27
                                                  2
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                                  CERTIFICATE OF SERVICE
      Case 3:21-cv-08485-WHO Document 25 Filed 11/22/21 Page 7 of 7




 1        (X)    (FEDERAL) I declare under penalty of perjury under the laws of the
 2 United States of America that the foregoing is true and correct.
 3
 4 Executed on November 22, 2021, at Alameda, California
 5
 6                                                           ______________
                                                             Obianuju Nzewi
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                               CERTIFICATE OF SERVICE
